                                                                                     DISTRICT OF OREGON

03/09/2021                          TUESDAY                                             FILED
                                                                                Judge David W Hercher
                                                                                   March 10, 2021
10:00    20-33477 dwh 7      bk     Christopher R. Mackenzie and Elizabeth L. Mackenzie
                                                                            Clerk, U.S. Bankruptcy Court
                                    Response and Request for Hearing Filed by Debtor Christopher
                                    R. Mackenzie, Joint Debtor Elizabeth L. Mackenzie Re: (12) Order
                                    re: (11) Trustee's Objection to Claimed Exemptions Filed by
                                    Trustee Rodolfo A Camacho. (Camacho, Rodolfo) (jbk)
                                    (HENDERSON, NICHOLAS) (27)
                                    Christopher R. Mackenzie - db    NICHOLAS J HENDERSON
                                    Elizabeth L. Mackenzie - jdb
                                    Rodolfo A Camacho - tr               DAVID CRISWELL




Evidentiary Hearing:         Yes:              No:




For the reasons stated on record, court will overrule the objection [11].




Order to be prepared by:   Clerk's Office     Chambers

DOCKET ENTRY:



The court OVERRULES the trustee's objection to claimed exemptions [11].



                                                                           David W. Hercher
                                                                           U.S. Bankruptcy Judge




                                                                         Run Date:      03/09/21
                            Case 20-33477-dwh7        Doc 33       Filed 03/10/21
